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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                     Criminal No. 11-305(6)(DSD/LIB)
                          Civil No. 15-1226(DSD)

United States of America,

                   Plaintiff,

v.                                                              ORDER

Lawrence Lalonde Colton,

                   Defendant.



      Allen A. Slaughter, Jr., Assistant U.S. Attorney, 316
      North Robert Street, Suite 404, St. Paul, MN 55101,
      counsel for plaintiff.

      Lawrence Lalonde Colton, #16069-041, FCI Milan, P.O. Box
      1000, Milan, MI 48160, pro se.



      This matter is before the court upon the pro se motion by

defendant Lawrence Lalonde Colton to vacate, set aside, or correct

his sentence under 28 U.S.C. § 2255.            Based on a review of the

file,    record,   and   proceedings   herein,     and   for     the    following

reasons, the court denies the motion and denies a certificate of

appealability.



                                  BACKGROUND

      In February 2012, Colton was indicted on six counts relating

to the distribution of oxycodone, oxymorphone, hydromorphone, and

heroin.    United States v. Colton, 742 F.3d 345, 346-47 (8th Cir.

2014).    The charges arose out of Colton’s leadership of a drug
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trafficking conspiracy in the Twin Ports area of Duluth, Minnesota

and Superior, Wisconsin.          Id. at 347.        On July 16, 2012, the

government filed an information under 28 U.S.C. § 851, notifying

Colton   that     it   intended   to   rely    on   two   prior    felony    drug

convictions to enhance his statutory maximum sentence in the event

of a conviction. ECF No. 838.          The government also notified Colton

that it would use the convictions for impeachment at trial.                      ECF

No. 837.    Before trial, the government dismissed counts two and

three of the superseding indictment, which charged Colton with

conspiracy to distribute oxycodone, oxymorphone, and heroin, and

distribution of controlled substances to a person under 21 years of

age.    ECF No. 958.      The matter proceeded to a four-day jury trial

in August 2012.        Colton, 742 F.3d at 347.

       Multiple    co-conspirators      testified    at   trial     that   Colton

coordinated with others to purchase, transport, and distribute

prescription drugs between his hometown of Detroit and the Twin

Ports.    Colton, 742 F.3d at 347.          A special agent testified that

law enforcement seized Colton’s cell phone, which had been used to

communicate with co-conspirators.             Id.   The special agent also

stated that, between January 2010 and August 2011, Colton sent and

received a total of $62,810 in wire transfers in connection with

the conspiracy.         Id.   In addition to witness testimony, the




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government introduced recordings of controlled buys between Colton

and a confidential informant, as well as exhibits showing that the

pills from those buys tested positive for oxymorphone.                  Id.

       The government rested its case on August 15, 2012.                 ECF No.

967.    Colton moved for judgment of acquittal, and the court took

the motion under advisement. Id. Colton did not testify at trial.

Trial Tr. 770:1-6.     On August 16, 2014, Colton was convicted on all

counts, and the court denied the motion for judgment of acquittal

the next day.     Colton, 742 F.3d at 348.          Colton then filed a pro se

motion for judgment of acquittal on September 26, 2012, which the

court also denied.      ECF Nos. 1075, 1078.

       At   the   sentencing   hearing,    Colton      objected    to   the   drug

quantity calculation set forth in the presentence investigation

report (PSR).      Colton, 742 F.3d at 348-49.         He also objected to the

PSR’s application of a four-level enhancement for his leadership

role and a two-level enhancement for obstruction of justice. Sent.

Tr.    at   2:18-23.    The    court   held    an   evidentiary     hearing      and

overruled Colton’s objections as to drug quantity and leadership

role, but sustained his objection to the obstruction of justice

enhancement. Id. at 39:4-42:16 The court then sentenced Colton to

a 300-month term of imprisonment, varying downward from an advisory

guideline range of 360 months to life.          Id. at 42:19-43:16.        Colton

appealed, arguing that the evidence was insufficient to support his

conviction and that the drug quantity was improperly calculated.


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Colton, 742 F.3d at 348-49.            The Eighth Circuit affirmed.            Id. at

349.     On March 9, 2015, Colton filed a motion to vacate his

sentence under § 2255, alleging ineffective assistance of counsel.



                                      DISCUSSION

       Section    2255     provides     a   federal     inmate    with    a   limited

opportunity      to   challenge       the   constitutionality,        legality,       or

jurisdictional basis of a sentence imposed by the court.                          This

collateral       relief    is    an   extraordinary       remedy,     reserved       for

violations of constitutional rights that could not have been raised

on direct appeal.         United States v. Apfel, 97 F.3d 1074, 1076 (8th

Cir. 1996).      When considering a § 2255 motion, a court may hold an

evidentiary hearing.            See 28 U.S.C. § 2255(b).          A hearing is not

required, however, when “(1) the petitioner’s allegations, accepted

as true, would not entitle the petitioner to relief, or (2) the

allegations       cannot    be     accepted     as     true    because     they      are

contradicted by the record, inherently incredible, or conclusions

rather than statements of fact.”                Sanders v. United States, 341

F.3d 720, 722 (8th Cir. 2003) (citation and internal quotation

marks omitted).       Here, no evidentiary hearing is required.

I.     Ineffective Assistance of Counsel

       Colton raises five arguments in support of his ineffective

assistance of counsel claim.            To prevail on a § 2255 motion based

on ineffective assistance of counsel, Colton must meet both prongs


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of the test set forth in Strickland v. Washington, 466 U.S. 668

(1984). First, Colton must show that his counsel’s performance was

so deficient that it was objectively unreasonable.               Id. at 687-88.

Because “[t]here are countless ways to provide effective assistance

in any given case” and different attorneys “would not defend a

particular   client   in    the   same      way,”   the    court     reviews      the

performance of defense counsel with significant deference.                  Id. at

689.    There is a “strong presumption that counsel’s conduct falls

within the range of reasonable professional assistance.”                          Id.

Second, Colton must demonstrate prejudice by showing “a reasonable

probability that, but for counsel’s unprofessional errors, the

result of the proceedings would have been different.”                 Id. at 694.

       A.   Drug Quantity

       Colton first argues that his counsel, Craig Cascarano, was

ineffective for failing to properly challenge the drug quantity

calculated in the PSR.           This argument is contradicted by the

record.      Cascarano     submitted       objections     to   the    preliminary

presentence investigation report on October 15, 2012, arguing that

Colton should be held responsible only for the drugs involved in

the controlled buys in which he participated.              See ECF No. 1214-1.

Cascarano repeated this objection at sentencing and cross-examined

the government’s witness as to his method of calculating the drug

quantity. See Sent. Tr. at 3:17-22, 24:4-25:23. Similar arguments

were also raised and rejected on appeal.            Colton, 742 F.3d at 348-


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49.        As a result, Colton has not established that Cascarano’s

performance fell below the deferential standard of reasonableness

set forth in Strickland.1

       Colton also argues that Cascarano failed to object to the

standard of proof used in establishing the drug quantity, in

violation of Apprendi v. New Jersey, 530 U.S. 466 (2000).                 Under

Apprendi, any fact that increases a penalty for a crime beyond the

prescribed statutory maximum must be charged and proven beyond a

reasonable doubt.        Id. at 490.      A judicially determined drug

quantity is still permissible, however, “so long as it results in

a sentence within the [statutory] maximum” for an indeterminate

amount of the drug.      United States v. Sheppard, 219 F.3d 766, 768

(8th Cir. 2000); see also United States v. Aguayo-Delgado, 220 F.3d

926, 933-34 (8th Cir. 2000).        Because the government submitted an

information establishing Colton’s prior felony convictions, Colton

was subject to a maximum sentence of thirty years.              See 21 U.S.C.

§ 841(b)(1)(C).       He was sentenced to 300 months’ imprisonment -

below the maximum.      Apprendi therefore does not apply.




       1
       Colton also argues that Cascarano was ineffective for
failing to submit a position pleading regarding sentencing under
Local Rule 83.10(e).   The failure to comply with a local rule,
however, cannot rise to a constitutional violation where, as here,
defense counsel’s performance was objectively reasonable and did
not cause prejudice.

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      B.     Judgment of Acquittal

      Colton next argues that Cascarano failed to properly move for

a judgment of acquittal.              The court will grant a motion for

judgment of acquittal “only if there is no interpretation of the

evidence that would allow a reasonable jury to find the defendant

guilty beyond a reasonable doubt.”                  United States v. Cacioppo, 460

F.3d 1012, 1021 (8th Cir. 2006) (citation and internal quotation

marks omitted).         Although Colton concedes that Cascarano moved for

a   judgment       of   acquittal,    he   argues         that   Cascarano     did     not

adequately challenge the sufficiency of the evidence presented at

trial.     Specifically, Colton argues that Cascarano focused heavily

on witness credibility rather than the lack of direct evidence to

support the witnesses’ testimony.               This argument is without merit.

“Either direct or circumstantial evidence properly may provide the

basis for      a    conviction; there          is    no   requirement     that   direct

evidence be adduced at trial.”             United States v. Simon, 376 F.3d

806, 808 (8th Cir. 2004).            As previously recognized by the court,

the government offered overwhelming evidence as to Colton’s guilt.

As a result, Colton’s lack of success on the motion for judgment of

acquittal cannot be attributed to any deficiency on the part of

Cascarano in raising the motion.

      C.     Confrontation Clause

      Colton next argues that he received ineffective assistance of

counsel when Cascarano failed to object to the testimony of an


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investigator   regarding    the   alleged      hearsay   of     a    confidential

informant (CI). Colton argues that, because the CI was not present

at trial, the testimony violated his right to confront the witness.

The confrontation clause “bars testimonial out-of-court statements

against a defendant who has no opportunity to cross-examine the

declarant.”    United States v. Young, 753 F.3d 757, 772 (8th Cir.

2014). “A confidential informant’s statements to a law enforcement

officer are clearly testimonial.”         United States v. Brooks, 645

F.3d 971, 977 (8th Cir. 2011) (citation and internal quotation

marks    omitted).     In    contrast,        “casual    statements         to     an

acquaintance” and “statements to a coconspirator” are not.                   United

States v. Lee, 374 F.3d 637, 644 (8th Cir. 2004).

     Colton does not specifically identify the testimony at issue.

See United States v. Beal, 279 F.3d 567, 571 (8th Cir. 2002)

(noting that a court cannot review whether a hearsay statement

violates the right to confrontation where the defendant “fail[s] to

specify any particular hearsay statement to which he objects”).

The government explains that Colton is referring to the testimony

of Jarrod Blomdahl, an investigator with the Lake Superior Drug and

Violent Crimes Task Force.        At trial, Blomdahl testified that he

observed controlled buys between CI’s and either Colton or co-

conspirators. Trial Tr. at 180:20-222:9. Recordings of those buys

were submitted, which included dialogue regarding the purchase of

drugs.   Id. at 186:21-187:13, 205:4-23, 215:20-216:11.                   Blomdahl


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summarized the dialogue at trial.            See, e.g., id. at 207:1-14.

Although these recordings implicated Colton as a participant in the

controlled buys, the statements made in the recordings are not

testimonial.    For instance, in one recording, a CI states “You got

a ten?”   Id. at 186:22.     In another, the CI asks “Do you have any

yellows?”    Id. at 209:8.    Such statements are more akin to casual

dialogue than a “solemn declaration or affirmation made for the

purpose of establishing some fact.”          United States v. Honken, 541

F.3d 1146, 1160 (8th Cir. 2008) (quoting Crawford, 541 U.S. at 51).

Even assuming these statements are testimonial, the government

presented other significant evidence of Colton’s guilt at trial.

See United States v. Holmes, 620 F.3d 836, 844 (8th Cir. 2010)

(“Evidence erroneously admitted in violation of the Confrontation

Clause is harmless beyond a reasonable doubt as long as the

remaining evidence is overwhelming.”).          Colton has therefore not

established that Cascarano’s failure to object to the testimony was

either unreasonable or prejudicial.

     D.     Leadership Role

     Colton next argues that Cascarano failed to raise a Booker

objection to the four-level enhancement for his leadership role

under Guidelines § 3B1.1(a).          Colton does not explain how the

enhancement    implicates    Booker   under    these   circumstances.         He

appears to claim that Cascarano should have argued for a sentence

below the advisory range, rather than simply contend that Colton


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was an average participant and not subject to the enhancement.                      To

the extent Colton is challenging the effectiveness of Cascarano’s

objection, the argument fails.               The record shows that Cascarano

objected to and argued at sentencing that Colton was not subject to

the enhancement.2         Moreover, Colton’s 300-month sentence was below

the advisory range of 360 months to life.             As a result, Cascarano’s

performance was not deficient.

       E.     Prior Convictions

       Lastly,    Colton     argues   that     Cascarano     failed   to   properly

challenge the government’s use of his prior drug convictions to

enhance his sentence under 21 U.S.C. § 851.                Specifically, Colton

contends that Cascarano should have objected to the use of these

convictions under various evidentiary rules, and that no records

were relied on to establish that he was convicted of the offenses.

It is undisputed that the government provided sufficient notice of

its intent to use the convictions, because the § 851 information

was filed on July 16, 2012, almost one month before trial.                  ECF No.

838.       Moreover, the government has provided copies of certified

records confirming the prior convictions, which it claims were

disclosed to Cascarano before trial.               ECF No. 1223-1.         Finally,

Cascarano      had   no   opportunity     to   object   to    the   use    of   these


       2
       Colton also argues that Cascarano was ineffective for
failing to raise this issue on appeal.    Given the overwhelming
evidence adduced from the evidentiary hearing and at trial, the
court finds that it was a reasonable strategic decision to forego
the argument on appeal.

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convictions at trial because they were never introduced.                 Although

Colton argues that similar objections should have been made at

sentencing,     the   Federal      Rules    of   Evidence    do   not   apply     to

sentencing proceedings.            Fed. R. Evid. 1101(d)(3).            Given the

evidence     establishing     Colton’s       prior   convictions,       Cascarano

reasonably decided not to argue against the use of the convictions

to enhance Colton’s sentence.         See Clemons v. Armontrout, 921 F.2d

187, 191 (8th Cir. 1990) (noting that counsel’s failure to raise a

meritless argument cannot support an ineffective assistance claim).

As a result, Cascarano’s representation in this regard was not

deficient.

II.    Certificate of Appealability

       To warrant a certificate of appealability, a petitioner must

make a “substantial showing of the denial of a constitutional

right.”     28 U.S.C. § 2253(c)(2).        A “substantial showing” requires

the petitioner to establish that “reasonable jurists” would find

the court’s assessment of the constitutional claims “debatable or

wrong.” Slack v. McDaniel, 529 U.S. 473, 483-84 (2000).                 The court

is firmly convinced that Colton’s motion is baseless, and that

reasonable jurists could not differ on the results given the nature

of his arguments. A certificate of appealability is not warranted.




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                                 CONCLUSION

     Accordingly, based on the above, IT IS HEREBY ORDERED that:

     1.     The motion to vacate, set aside, or correct sentence [ECF

No. 1213] is denied; and

     2.     Pursuant   to   28   U.S.C.   §   2253,   the      court   denies   a

certificate of appealability.

LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated:    June 30, 2015


                                          s/David S. Doty
                                          David S. Doty, Judge
                                          United States District Court




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